Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document      Page 1 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document      Page 2 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document      Page 3 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document      Page 4 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document      Page 5 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document      Page 6 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document      Page 7 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document      Page 8 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document      Page 9 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 10 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 11 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 12 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 13 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 14 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 15 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 16 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 17 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 18 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 19 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 20 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 21 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 22 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 23 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 24 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 25 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 26 of 27
Case 18-50632-wlh   Doc 1   Filed 01/13/18 Entered 01/13/18 13:56:28   Desc Main
                            Document     Page 27 of 27
